       Case 1:25-cr-00168-TNM          Document 17       Filed 06/11/25    Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :
                                                  :   CRIMINAL NO.        25-CR-
             v.                                   :                       25-MJ-51
                                                  :
 CEVIN ANDRE BELTON,                              :   18 U.S.C. § 922(g)(1)
                                                  :   (Unlawful Possession of a Firearm and
                    Defendant.                    :   Ammunition by Person Convicted of a Crime
                                                  :   Punishable by Imprisonment for a Term
                                                  :   Exceeding One Year)
                                                  :   21 U.S.C. §§ 841(a)(1), 841(b)(1)(C)
                                                  :   (Unlawful Possession with the Intent to
                                                  :   Distribute Cocaine Base)
                                                  :
                                                  :   FORFEITURE: 18 U.S.C. § 924(d),
                                                  :   21 U.S.C. § 853(p) and 28 U.S.C. § 2461(c)

                                       INFORMATION

       The United States Attorney charges that:

                                         COUNT ONE
       On or about March 22, 2025, within the District of Columbia, CEVIN ANDRE BELTON,

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, in the Circuit Court for Prince George’s County, Maryland Case Number

CT050969B, did unlawfully and knowingly receive and possess a firearm, that is, a Springfield

Armory Hellcat 9mm semi-automatic handgun, and did unlawfully and knowingly receive and

possess ammunition, that is, 9mm ammunition, which had been possessed, shipped, and

transported in and affecting interstate and foreign commerce.

       (Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a Crime
       Punishable by Imprisonment for a Term Exceeding One Year, in violation of Title 18,
       United States Code, Section 922(g)(1))
        Case 1:25-cr-00168-TNM          Document 17        Filed 06/11/25      Page 2 of 3




                                          COUNT TWO

       On or about March 22, 2025, within the District of Columbia, CEVIN ANDRE BELTON,

knowingly and intentionally distributed and possessed with intent to distribute a mixture and

substance containing a detectable amount of Cocaine Base, a Schedule II controlled substance.

       (Unlawful Possession with Intent to Distribute Cocaine Base, in violation of Title 21,
       United States Code, Sections 841(a)(1) and 841(b)(1)(C).


                                FORFEITURE ALLEGATION

       1.      Upon conviction of any of the offenses alleged in Count Two of this information,

CEVIN ANDRE BELTON shall forfeit to the United States, pursuant to Title 21, United States

Code, Section 853(a), any property constituting, or derived from, any proceeds obtained, directly

or indirectly, as the result of these offenses; and any property used, or intended to be used, in any

manner or part, to commit, or to facilitate the commission of, these offenses. The United States

will also seek a forfeiture money judgment against the defendant equal to the value of any property

constituting, or derived from, any proceeds obtained, directly or indirectly, as the result of these

offenses; and any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, these offenses.

       2.      Upon conviction of any of the offenses alleged in Count One of this Information,

CEVIN ANDRE BELTON shall forfeit to the United States, pursuant to Title 18, United States

Code, Section 924(d) and Title 28, United States Code, Section 2461(c), any firearms and

ammunition involved in or used in the knowing commission of the offense, including but not

limited to:

            a. Springfield Armory, Hellcat 9mm semi-automatic handgun bearing Serial
       Number BA336624 seized on March 22, 2025.

               b. 10 rounds of 9mm ammunition seized on March 22, 2025.


                                                 2
       Case 1:25-cr-00168-TNM            Document 17       Filed 06/11/25       Page 3 of 3




       3.      If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendants:

       (a)     cannot be located upon the exercise of due diligence;

       (b)     has been transferred or sold to, or deposited with, a third party;

       (c)     has been placed beyond the jurisdiction of the Court;

       (d)     has been substantially diminished in value; or

       (e)     has been commingled with other property that cannot be subdivided without

               difficulty;

CEVIN ANDRE BELTON shall forfeit to the United States any other property of the defendant,

up to the value of the property described above, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c).

       (Criminal Forfeiture, pursuant to Title 18, United States Code, Section 924(d), Title 21,
       United States Code, Section 853(p), and Title 28, United States Code, Section 2461(c))



                                              Respectfully Submitted,

                                              JEANINE FERRIS PIRRO
                                              United States Attorney

                                      By:     /s/ James B. Nelson
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